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UNITED sTA TES DISTRICT comer F=n_,m;.:\ 4?/ D.c.
WESTERN DISTRICT OF TE'NNESSED€AUG 25 PH 2, 17
WESTERN DIVISION

 

 

BRENDA J. BRADBERRY and J'UDGMENT IN A CIVIL CASE
EDWIN C. BR.ADBERRY

v¢

JOHN HANCOCK WTUAL LIFE CASE NO: 02-2'729-D

INSURANCE COMPANY

 

DECISION BY COURT. This action came to consideration before the
Court. 'I'he issues have been considered and a decision has been
rendered.

Order Of Dismissa.l entered on August 16, 2005, this cause is hereby
dismissed with prejudice.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

